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                13                                   UNITED STATES DISTRICT COURT

                14               NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION

                15

                16       IN RE CATHODE RAY TUBE (CRT)                  Master File No. 3:07-cv-05944-SC
                         ANTITRUST LITIGATION
                17                                                     MDL No. 1917
                         This Document Relates To:
                18                                                     Individual Case No. 3:14-cv-02510
                         ViewSonic Corporation v. Chunghwa
                19       Picture Tubes, Ltd., et al., Case No. 3:14-   PLAINTIFF VIEWSONIC
                         cv-02510                                      CORPORATION’S MOTION FOR LEAVE
                20                                                     TO FILE SURREPLY IN OPPOSITION TO
                                                                       PANASONIC DEFENDANTS’ MOTION
                21                                                     TO DISMISS AND TO COMPEL
                                                                       ARBITRATION
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  C ROWELL                                                                         VIEWSONIC’S MOTION FOR LEAVE TO FILE
& M ORING LLP                                                                                                SURREPLY
ATTO RNEY S AT LAW


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                     1                              NOTICE OF MOTION AND MOTION

                     2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                     3           PLEASE TAKE NOTICE that Plaintiff ViewSonic Corporation (“ViewSonic”) hereby

                     4   moves the Court for an order granting ViewSonic leave to file its Surreply in Opposition to

                     5   Panasonic Defendants’ Motion to Dismiss and to Compel Arbitration.

                     6           This motion is based upon this Notice of Motion and Motion, the Memorandum of Points

                     7   and Authorities in support thereof, and such other materials and information that the Court may

                     8   properly consider.

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& M ORING LLP                                                                          VIEWSONIC’S MOTION FOR LEAVE TO FILE
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                     1                         MEMORANDUM OF POINTS AND AUTHORITIES

                     2           Plaintiff ViewSonic Corporation (“ViewSonic”), by and through its undersigned counsel,

                     3   hereby respectfully submits this Memorandum in Support of its Motion for Leave to File a

                     4   Surreply in Opposition to the Panasonic Defendants’ Motion to Dismiss and to Compel

                     5   Arbitration (the “Motion”). As reflected in ViewSonic’s proposed surreply (attached to the

                     6   Declaration of Astor H.L Heaven as Exhibit A), ViewSonic seeks leave as required under Civil

                     7   Local Rule 7-3(d) to file a surreply to respond to factual assertions, arguments and authorities that

                     8   the Panasonic Defendants (“Panasonic”) raised for the first time in the Reply in Support of

                     9   Panasonic’s Motion to Dismiss and Compel Arbitration (Dkt. 2897) (the “Reply”).

                10               ViewSonic respectfully submits that a short surreply is justified and necessary to assist the

                11       Court in resolving factual assertions and arguments that Panasonic raised for the first time in its

                12       Reply. There is ample precedent supporting ViewSonic’s Motion. Indeed, this Court has granted

                13       motions for leave to file surreplies in similar situations, both in this MDL and in other cases

                14       where parties sought to address arguments and assertions first raised in subsequent briefing. See

                15       In re Cathode Ray Tube (CRT) Antitrust Litig., 07-5944 SC, 2014 WL 2581525, at *1 n.2 (N.D.

                16       Cal. June 9, 2014) (granting the indirect purchaser class leave to file a surreply pursuant to Civ.

                17       Local. R. 7-3(d) in opposition to a motion to dismiss after defendants included new arguments in

                18       their reply); In re Cathode Ray Tube (CRT) Antitrust Litig., 07-5944 SC, 2014 WL 2581581, at

                19       *1 n.1 (N.D. Cal. June 9, 2014) (granting the Toshiba defendants’ leave to file a surreply in

                20       opposition to Sharp’s motion for leave to file an amended complaint pursuant to Civ. Local R. 7-

                21       3(d)); Toomey v. Nextel Commc’ns, Inc., C-03-2887 MMC, 2004 WL 5512967, at *1 (N.D. Cal.

                22       Sept. 23, 2004) (granting motion for leave to file surreply to address arguments “raised for the

                23       first time in Nextel’s reply, and purported misstatements of fact in Nextel’s reply”); Sharper

                24       Image Corp. v. Consumers Union of U.S., Inc., 03-4094 MMC, 2004 WL 2713064, at *1 n.1

                25       (N.D. Cal. Feb. 23, 2004) (granting motion for leave to file surreply to “respond[ ] to arguments

                26       raised for the first time” in reply).

                27               Here, ViewSonic seeks leave to primarily respond to three arguments that Panasonic

                28       failed to raise in its Motion to Dismiss and Compel Arbitration (“Motion to Dismiss”), and that it
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                     1   only raised for the first time in its Reply. First, Panasonic argues that the sole dispute is one of

                     2   contract interpretation and that issues of contract interpretation must be submitted to an arbitrator.

                     3   Reply at 1-3. Panasonic never raised this issue in its Motion to Dismiss (see Dkt. 2767), and

                     4   ViewSonic never addressed the specific issue in its Opposition. ViewSonic presents arguments in

                     5   its Opposition in support of the proposition that the Court should give effect to the terms of the

                     6   parties’ agreement, but it never addressed the specific issue of whether this dispute is solely an

                     7   issue of “contractual interpretation” and whether “contractual interpretation” is an issue for the

                     8   arbitrator. Second, Panasonic argues that the respective arbitration rules “reserve questions of

                     9   jurisdiction and scope to the arbitrator.” Reply at 5. Panasonic also never raised this issue in its
                10       Motion to Dismiss, and ViewSonic never addressed the specific issue in its Opposition. Third,
                11       Panasonic argues that the Court should not consider extrinsic evidence (including a declaration
                12       and several OEM agreements that ViewSonic attached to its Opposition). Panasonic only raised
                13       this argument in its Reply. A short surreply would assist the Court by providing additional
                14       clarification on these three issues and other factual assertions. Good cause exists for the Court to
                15       permit ViewSonic to file its surreply because it is limited to responding to new arguments and
                16       authorities that Panasonic had not previously made in its Motion to Dismiss.
                17                For these reasons, this Court should grant ViewSonic’s Motion for Leave to File Surreply.
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                         Dated: October 13, 2014          Respectfully submitted
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